   Case 3:20-cv-00696-JWD-EWD                                                    Document 1-1                              10/16/20 Page 1 of 5
AST BATON ROUGE PARISH C-69933o
    Filed Sep 04, 2020              26
  Deputy Clerk or Court
FAX Received Sep 02, 2020




                   19* JUDICIAL DISTRICT COURT FOR THE PARISH OF EAST BATON ROUGE
                                                                     STATE OF LOUISIANA
                 DOCKET NO.:                                                                                                          DIVISION:
                                                                        MARY JOY LACAZE

                                                                                   VERSUS


                                 WALMART STORES, INC. AND WALMART LOUISIANA, LLC

                 FILED:
                                                                                                  CLERK OF COURT

                                                                  PETITION FOR DAMAGES

                            The Petitionof MARY JOY LACAZE ("LACAZE"), a personof majority and domiciled in
                 East Baton Rouge Parish, State of Louisiana, respectfully represents:
                                                                                          1.


                            Made defendants herein are:


                               a. WALMART STORES, INC ("Walmart"), a foreign corporation licensed to do and
                                   having a domicile address of 1209 Orange Street, Wilmington, DE 19801, with its
                                   principal business establishment inLouisiana at 5615 Corporate Blvd. Ste. 400B, Baton
                                  Rouge, LA 70808; and
                               b. Walmart Louisiana, LLC, ("Walmart"), a foreign corporation licensed to do and havinga
                                  domicile address of 702 SW 8'1' Street, Bentonvilk, AR 72716, with its principal business
                                  establishment in Louisiana at 5615 Corporate Blvd. Ste. 400B, Baton Rouge, LA 70808
                                   (collectively "Walmart")


                                                                                          2.


                            Defendants are justly and truly indebted unto plaintiff for such monetary damages as arc

                 reasonable in die premises of tliis action, togetherwith legalinterest tliereon from the date of judicial

                 demand until paid, for die following, to-wit:

                                                                                           3-

                            At all times pertinent, defendants owned and/or operated Walmart Superccntcr store number

                  4683, located at 10550 Burbank Dr, Baton Rouge, LA 70810 ("Store"); said Store being held upon to

                  the public in the normal course of Walmart's retail business.

                                                                                          4.

                            On February 24, 2020, Mrs. LaCaze was walking into the Walmart Superccntcr on Burbank
                  Drive in Baton Rouge to return a product. As she approached the crosswalk, she tripped over an
                  extremely uneven part of the roadway which divides the area where die crosswalkbegins.




               Certified True and                                                                                                                      _      , ._,
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                                                                                                                                           EXHIBIT A
                                AJlentiwi ana sucsecjen! re-TUng o( litis ccrtifitfl cocy may vic^aleta. R.S 1«:132. 133. ana/or RPC Ru'e 3 3(a)(3).
Case 3:20-cv-00696-JWD-EWD                                                     Document 1-1                               10/16/20 Page 2 of 5

             •t




                                                                                       5.


                      The difference in elevation between the roadway and the crosswalk area is two inches and the

            striping had worn so much that it was not visible at the location where the fall occurred. At the time she

            fell, the weather was overcast but not raining arid she was wearing flat shoes.

                                                                                        6.


                      L.ACAZE walked as she normally would and observed her surroundings as a normally prudent

            customer while wallcing through the parking lot.

                                                                                        7.


                      Plaintiff was free from fault in causing or contributing to die incident in any way.

                                                                                        8.


                      This is not die Erst fall at die exact same location of diis Walmart. Despite actual or constructive

            notice of the hazardous condition, Walmart failed to exercise reasonable care in warning customers or

            eliminating the unreasonable risk of harm to plaintiff, EACAZE.


                                                                                        9.

                      Plaintiff avers diat the above described incident and allresulting injuries and damages therefrom

            were caused solely, by die individual negligence and fault of Walmart, and its employees, in the


      .     following, non-cxclusivc, particulars, which if inconsistent are pleaded in the alternative, among others


             to be disclosed during discovery or shown at die time of trial, to-wit:

                      1.   Failure to use reasonable care to keep die premises in a safe condition;
                      2.   Failure to maintain or construct the premises in a safe condition for the circumstances
                           presented;
                      3.   Failure to use reasonable care to keep die premises free of hazardous conditions;                                                  •
                      4.   Failure to warn of potentially unsafe conditions;
                      5.   Failure to implement proper safety, maintenance, or procedures, to address the furniture in
                           the waiting room. area';
                      6.   Failure by allowing residents and visitors to be on the premises while in a dangerous
                           condition which could and did cause injuries;                                                                              <
                      7.   Failure to warn the plaintiff of a known dangerous condition;
                      8.   Failure to adequately train an employee to warn of a potentially hazardous and dangerous
                           condition;
                      9.   Failure by having constructive or actual knowledge and not removing a hazardous
                           condition;
                      10. Failure to timely remedy a known dangerous condition in the waiting room area;
                  .   11. Failure -to exercise due care arid"cautiori "under all of the circumstances;
                      12. Failure to meet generally the standard of care required under the circumstances; and
                      13. Any and all other acts of negligence and fault to be proven through discovery or at the trial
                          of this matter.                                                  •




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Case 3:20-cv-00696-JWD-EWD                                                       Document 1-1                                10/16/20 Page 3 of 5




                                                                                        10.


                       Alternatively, petitioner shows that defendant, Walm'art, is negligently liable for damages

              sustained by plaintiff herein pursuant to La. C.C. Art. 2317, el seq.

                                                                                        11.


                       At die times pertinent herein, Wal-Mart wus the owner of, and / or had care, custody, and control

              over the premises and its defects which caused harm to die plaintiff, LACAZE.

                                                                                        12.


                       As a result of the fault, negligence, and/or strict liability of the defendants in causing the

              aforementioned incident giving rise to this lawsuit, plaintiff, LACAZE, sustained serious and permanent

              injuries. She suffered past and will continue to suffer present and future pain, including but not limited


              to severe head trauma, back pain, anxiety, distress, depression, mental anguish, loss of consortium. She

              has incurred and/or will be caused to incur expenses for accident-related medical expenses, past,

              present, and/ or future. She has lost or sustained diminished enjoyment of life, lost earnings, and/or loss

              of earning capacity; he has been caused to engage an attorney, and he has sustained other general and


              special damages for which Wahnart is justly and truly indebted unto the Plaintiff, as is reasonable in the


              premises and allowed by law.


                                                                                        13.


                       Walmart regularly maintained security video cameras in the Store, including video cameras near


              where the accident occurred. The video of die incident is immediately discoverable because, "The


              importance of the videotape 's showing of the actual circumstances of the accident, and its assistance to the patties in the


              search for truth, far outweigh any potential impeachment value. M


                                                                                        14.


                       Plaintiff avers that the monetary amount of plaintiff, LAC AZE's cause of action herein, exceeds


              the requisite amount required to grant to and establish the right to a jury trial pursuant to die provisions


              of La. C.C. art. 1732, thereby entitling him to obtain and granting him die lawful right to obtain a trial by


              jury on all issues herein.                                                                                                                            .




              1 Dell v. Treasure Chest Casino. 2006-1538 (La. 2/22/07) 950 So. 2d 654.




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    Case 3:20-cv-00696-JWD-EWD                                                  Document 1-1                              10/16/20 Page 4 of 5




                                                                                       15.


                       In accordance with La. C.C.P. Ann. Art. 1572, Plaintiff requests diat this Honorable Court


              provide written notice, at least ten days in advance of die date fixed for trial or hearing of the case,

              whether on excepdons, raodons, rules or die merits. Plaindff also requests immediate nodcc of all

              orders or judgments, whether interlocutory or final, made or rendered in diis case upon the rendition

              diereof, as provided by La. C.C.P. Ann. arts. 1913 and 1914, including notice of judgment, in the event

              diat diis case is taken under advisement, or if die judgment is not signed at die conclusion of die trial.

                       WHEREFORE, plaintiff, MARY JOY LACAZE, prays that defendants, Walmart Stores, Inc.

              and Walmart Louisiana, LLC, be served widi a copy of this petition, and be duly cite to appear and


              answer same; and that after due proceedings are had, that there be judgment herein in favor of plaintiff,


              MARYJOY LACAZE, and against defendants, Walmart Stores, Inc. and Walmart Louisiana, LLC, for

              such monetary damages as arc reasonable in the premises of this action, together with legal interest


              thereupon from the date of judicial demand until paid, including expert witness fees, and for all such


              general and equitable relief as die nature of the case may permit.                                                      '               .




                                                                               Respectfully Submitted,

                                                                               Andrew Murrell Law Firm




                                                                               BY:
                                                                                       J. Andrew Murrell
                                                                                       Bar Roll No. 34003
                                                                                       1955 Carolyn Sue Drive
                                                                                      .Baton Rouge, LA               70815
                                                                                       Telephone/Fax No.: (844) 626-3739
                                                                                       Email: Andrcw@AndrewMurrell.com


              PLEASE SERVE DEFENDANTS AT:

              Wal-Mart Stores, Inc.
               Through its registered agent
               CT Corporation System
               5615 Corporate Blvd, Ste. 400B
               Baton Rouge, LA 70808


              And—

              Wal-Mart Louisiana, LLC
               Through its registered agent
               CT Corporation System
               5615 Corporate Blvd, Ste. 400B
               Baton Rouge, LA         70808




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                    19"' JUDICIAL DISTRICT COURT FOR THE                           PARISH OF EAST BATON ROUGE
                                                          STATE OF LOUISIANA

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                                                                   VERSUS


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                 FILED:
                                                                                CLERK OF COURT


                 STATE OF LOUISIANA

                 PARISH OF EAST BATON ROUGE

                             BEFORE ME, die undersigned Notary Public, personally came and appeared:

                                                            MARY JOY LACAZE

                 who, after being duly sworn, did depose and state:

                             That she the Plaintiff in the above and foregoing Petition for Damages and that all allegations

                 contained therein are true and correct to the best of her knowledge, information and belief;

                             To the best of affiant's knowledge, information and belief, the defendants are not members of

                 die Armed Forces of die United States of America.




                                                                      OY LACAZE
                                                                                                                41
                             SWORN TO AND SUBSCRIBED before me, Notary Public, on this the                          day of

                    \JL        Jl             , 2020.




                                                               J. Andrew Muriel)
                                                              NOTARY PUBLIC
                                                              Bar Roll No.: 34003
                                                        Commission Expires: Upon Death




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